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                                                    Joshua Smith, Esq.


                                                          November 8, 2021


                    Via CM/ECF

                    The Honorable Norman K. Moon
                    The Honorable Joel Hoppe
                    United States District Court for the Western District of Virginia
                    255 West Main Street
                    Charlottesville, Virginia 22902

                           Re     Sines et al. v. Kessler et al., No. 3:17-cv-00072; Violation by
                                  Plainti s’ Counsel of the Court’s July 9, 2021 Settlement Conference
                                  Order (ECF No. 989)

                    Dear Judge Moon and Judge Hoppe:

                         This letter is in reply to Roberta Kaplan’s letter (ECF No. 1399) responding to my
                    November 4, 2021 letter (ECF No. 1395).

                           Ms. Kaplan asserts that her seemingly damning admission actually “provides no
                    support for the accusation that we disobeyed the Court’s July 2021 Order” because
                    “the statement . . . was made in 2018 — three years before [the Court] issued the July
                    2021 Order. . . . Any statement that I made to recruit Mr. Bloch to come work at our law
                     rm obviously has no bearing on Plainti s’ compliance with the July 2021 Order three
                    years later.” (ECF No. 1399 at 1.)

                           From day one of this litigation, Plainti s’ position has been the following:

                           (1)    A person’s statements, even from years earlier, are evidence of their
                                  future intent;

                           (2)    Such statements may be taken literally (at least whenever the proponent
                                  of such evidence nds it convenient to do so); and

                           (3)    Any surrounding context is irrelevant.

                           Plainti s’ counsel have their Charlottesville 2.0 Discord server; I have this
                    interesting article recently published in the National Law Journal. The Lord works in
                    mysterious ways.



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               Anyway, Ms. Kaplan does not deny she made the statement in question. If she
        told Michael Bloch in late 2018 that she does not settle with Nazis, and is now telling
        the Court that, sometime between late 2018 and August 20, 2021 (the date of the
        settlement conference), something changed about that explicit, unambiguously-
        expressed position, there are only two logical possibilities for what that change could
        be:

                 (1)        Ms. Kaplan suddenly became open to the possibility of settling with
                            Nazis, or

                 (2)        Ms. Kaplan suddenly no longer considered my clients to be Nazis (or
                            indeed, any of the other Defendants in attendance at the settlement
                            conference).

        Neither of these are even remotely plausible in light of, inter alia, Ms. Kaplan’s many
        vitriolic public statements in connection with this litigation.

               Ms. Kaplan also appears to claim that she was merely engaging in pu ery about
        how tough she really is towards Nazis in order to recruit Mr. Bloch to work at her law
         rm. (See ECF 1399 at 1.) This is simply not credible; in any case, the Court should not
        permit Ms. Kaplan to evade accountability for her ill-considered public statements —
        especially while she is demanding a completely di erent set of rules for Defendants’
        public statements. Ms. Kaplan’s conduct here is not trivial. An entire day of my time
        and my clients’ time was completely wasted. This is speci cally why the Court included
        a provision in its July 9, 2021 Order warning the parties that monetary sanctions may
        be imposed if it nds that a party failed to negotiate in good faith at the settlement
        conference.1


                                                               Very truly yours,




                                                               /s/ Joshua Smith
                                                               Joshua Smith, Esq.

                                                               Counsel for Defendants David Matthew
                                                               Parrott, Matthew Heimbach, and
                                                               Traditionalist Worker Party




        1       Surely Ms. Kaplan’s rm can a ord to pay the requested sanctions, as Plainti s’
        counsel have received well over $20 million from organizations funding the instant litigation
        thus far.


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 8, 2021, I led the foregoing with the Clerk of

   Court through the CM/ECF system, which will send a notice of electronic ling to all

   counsel of record in the case, as well as all ECF-registered pro se parties.

         I hereby further certify that on November 8, 2021, I served a copy of the

   foregoing on the following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                       Robert “Azzmador” Ray
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   c/o Dillon Hopper                                     deplorabletruth@gmail.com
   dillon_hopper@protonmail.com                          eli.r.kline@gmail.com

         I hereby further certify that on November 8, 2021, I served a copy of the

   foregoing on the following non-ECF pro se party, via rst-class mail, as follows:

   Christopher Cantwell (00991-509)
   USP Marion
   U.S. Penitentiary
   P.O. Box 1000
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                                                          /s/ Joshua Smith
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